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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        ELSY RAMIREZ,
                                   7                                                         Case No. 15-cv-04706-CRB
                                                        Plaintiff,
                                   8
                                                 v.                                          ORDER OF DISMISSAL
                                   9
                                        RASH CURTIS & ASSOCIATES,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The parties hereto, by their counsel, having advised the court that they have agreed to a

                                  14   settlement of this cause, IT IS HEREBY ORDERED that this cause of action is dismissed

                                  15   without prejudice; provided, however that if any party hereto shall certify to this court, within

                                  16   sixty (60) days, with proof of service thereof, that the agreed consideration for said settlement has

                                  17   not been delivered over, the foregoing order shall stand vacated and this cause shall forthwith be

                                  18   restored to the calendar to be set for trial.

                                  19           If no certification is filed, after passage of sixty (60) days, the dismissal shall be with

                                  20   prejudice.

                                  21   Dated: March 7, 2016

                                  22                                                     ______________________________________
                                                                                         CHARLES R. BREYER
                                  23                                                     United States District Judge
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